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UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

Raishawn Key,
Plaintiff
Vv.
City of Augusta,
Roberta Fogg,
William Bridgeo,
Sue Gosselin,
John Does ## 1-4,
Defendants.

CASE NO. 1:17-cv-00007-JDL

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PLAINTIFF"S RESPONSES TO DEFENDANT'S FIRST DISCOVER¥ REQUESTS

RESPONSES TO REQUESTS FOR PRODUCTION

Plaintiff is including all documents refrenced in the Complaint.

Please see attached.

Plaintiff is including four pieces of written correspondence (the

entirety of all correspondence). Please see attached.

- Plaintiff is including one piece of correspondence that comprises

the entirety of this request. Please see attached.

. The plaintiff has not produced any such materials and is unable

to respond to this request.

- By:virtue of the Plaintiff's incarceration, he is at this time,
unable to comply with the request. Plaintiff does believe that
witnesses are to be had and statements able to be given, yet
plaintiff is unable to secure them because of his confinement
status.

6. Plaintiff is including all such documents in his possession that

reflects such address. ,

7. By virtue of the plaintiff's incarceration, he is unable to pro-

Tiduce such a request as the State Department of Corrections prevents
prisoners from having access to such materials.

8. There are no such documents available. Plaintiff will respond

to this matter in item #12 of INTERROGATORIES.

9. Plaintiff cannot produce any such documents at this time without

further discovery.

10. Plaintiff cannot produce any such documents at this time without

further discovery.

11. Plaintiff is not in possession of any such documentation.

12. Plaintiff is including all documentation relating to this request.

See attached.

13. At this time, Plaintiff has included all decuments—relevant to

these discovery requests.

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RESPONSES TO INTERROGATORIES

1. .Plaintiff participated in a voter registration drive at the Maine
State Prison on September 28, 2016 having completed all the docu-
ments listed in item #13 of the Complaint. The Office of the
Maine Secretary of State was there and representatives of that
office collected all voter registration materials. Freemont Anderson,
a notary staff member of the Maine State Prison notarized my
documents. The Google Search performed was done approximately in
the week of November 10th,2016. To the plaintiff's knowledge, therte
aue-7o: additions! details or documents, or information that the
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plaintiff has that are not listed in the Complaint relevant to

what is being asked in item #1.

2.
3.
4,

Plaintiff resided at 3 Noyce Ct. Apt. #1 Augusta, ME. from May

17, 2013 until June 18, 2013.

A woman named Carol Gordon was the renter of the apartment but

I do not know her whereabouts at this time.

LaToya Pugh, the mother of my children knew of my address and

her contact information is 221 E. 122 Street, NY,NY 10035. Her
phone number is 917-285-5557.

Freemont Anderson, Rachel Talbot-Ross, James Wilbur, Emmanuel Reynolds,
Caseworker Guckin, Foster Bates, and Daniel Fortune are all people
who were present at the voter registration drive. They will all
Say essentially the same thing and that is that plaintiff was
present, desiring to register to vote, listening to the presentations
of the various speakers, and when the time came, plaintiff filled
out all the necessary paperwork and submitted it to the Secretary
of State for further processing.

The address was looked up on or about the week of November 10,2016.
The address was looked up by Freemont Anderson in his office at

the Maine State Prison. The address was verified and was witnessed
by both the plaintiff and Mr. Anderson.

Plaintiff believes that given the time delays, refusal of city
officials to respond to correspondence initiated by the plaintiff,
and an outright denial of my application materials without further

action all lent to prejudicial actions by government employees.

10.

12.

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Plaintiff will require responses to his discovery requests before
he is able to further and more fully respond to this question.
Plaintiff is of African-American descent, and is a convicted felon.
Plaintiff does not at this time, know of any additional individuals.
Plaintiff believes that because of his status as a convicted felon
and African-American, he was discriminated against in his efforts
to vote. Further discovery material will be necessary for plaintiff
to respond further.

Plaintiff believes that it is more likely than not that his
voter registration application materials were handled and/or
processed by more than one individual. As in any bureaucracy,

there are multiple layers of supervision,management, and
authority and plaintiff believes this to be true also for the

“City of Augusta.
11.

Plaintiff will need additional discovery before he can respond
to this inquiry. However, plaintiff believes on good faith that
his denial was rooted in an inappropriate decision by government
employees and will need access through the discovery process to
determine what exactly happened.

Plaintiff wrote to the City Clerk's office on November 15, 2016
asking for instruction on how to file a complaint. No answer
was forthcoming. Plaintiff asked his children's mother and
brother to search on the City of Augusta's website for further
instruction. There was no such instructions. Plaintiff does not
have a copy of this letter.

RESPONSES FOR REQUESTS FOR ADMISSIONS
Plaintiff Admits
Plaintiff Admits

Plaintiff Denies
Plaintiff Denies

Date: S/:

